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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )               CASE NO. 1:99cr00332-024
                                             )
       Plaintiff,                            )               JUDGE: JAMES S. GWIN
                                             )
vs.                                          )               ORDER
                                             )
RASHEED J. SEWELL,                           )
                                             )
       Defendant.                            )



       This matter was heard on November 19, 2013, upon the request of the United States

Pretrial and Probation Office for a finding that defendant violated the conditions of supervised

release. The defendant was present and represented by Attorney Edward Bryan. The defendant,

following an advisory discussion with the Court concerning a potential conflict of interest with

his representation by Attorney Bryan, acknowledged in open Court that he understood the

potential conflict and his right to representation by other counsel and that he wished to proceed

as scheduled.

       The original violation report was referred to Magistrate Judge Nancy A. Vecchiarelli who

issued a Report and Recommendation on October 21, 2013 [Doc. 915]. No objections were filed

by either plaintiff or defendant and the Court adopted the Report and Recommendation and

found defendant’s conditions of supervised release had been violated as follows:

                1) new law violation.

       The Court, after entertaining statements from counsel for the parties and input from the
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supervising officer, committed defendant to the Bureau of Prisons for a term of 22 months noting

the sentence as sufficient but no greater than needed. This sentence shall be served consecutive

to defendant’s state sentence. Upon release from incarceration defendant’s federal term of

supervised release shall end as he will be under state post-release control.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: November 20, 2013                              s/ James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE
